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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 K.C., individually and on behalf of J.C.T.,
 M.T., individually and on behalf of J.C.T., and
 J.C.T., on behalf of himself,                                 No. 16-CV-3138 (KMK)

                               Plaintiffs,                      OPINION & ORDER
                         v.

 CHAPPAQUA CENTRAL SCHOOL
 DISTRICT,

                               Defendant.



Appearances:

Rachel S. Asher, Esq.
Asher Gaughran, LLP
Armonk, NY
Counsel for Plaintiffs

Mark C. Rushfield, Esq.
Shaw, Perelson, May & Lambert, LLP
Poughkeepsie, NY
Counsel for Defendant

KENNETH M. KARAS, United States District Judge:

       Plaintiffs K.C. and M.T. (“Plaintiff Parents”), and their son J.C.T. (“J.C.T.”)

(collectively, “Plaintiffs”), bring this Action alleging that Defendant Chappaqua Central School

District (“Defendant” or the “District”) denied J.C.T. a free and appropriate public education

(“FAPE”) at Bell Middle School (“Bell”) for the 2011–12 and 2012–13 school years, in violation

of the Individuals With Disabilities Education Act (the “IDEA”), 20 U.S.C. § 1415 et seq., New

York Education Law §§ 4401, 4404, 4410, and Section 504 of the Rehabilitation Act (“Section

504”), 29 U.S.C. § 794 et seq., and discriminated against J.C.T. in violation of Section 504 and
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Title II of the Americans With Disabilities Act (the “ADA”), 42 U.S.C. § 12132. (See Am.

Compl. (Dkt. No. 52).) Currently before the Court is Defendant’s Motion for Summary

Judgment (the “Motion”). For the reasons discussed below, the Motion is granted.

                                          I. Background

       The general factual and procedural background of this Action has been discussed in detail

by the Court in its previous Opinions & Orders on this case, so the Court assumes familiarity

with the general issues in dispute. (See Op. & Order on Def.’s Mot. for Judgment on the

Pleadings (“2017 Op.”) 2–7; Op. & Order on Def.’s Mot. for Summ. J. on the Statute of

Limitations (“2018 Op.”) 2–23 (Dkt. Nos. 40, 88).) The Court supplements certain factual issues

and the procedural background below and will address other facts as needed throughout this

Opinion & Order. The Court refers to the Parties’ Rule 56.1 Statements and Counterstatements

and underlying exhibits to inform its understanding of the facts. (See Def.’s Rule 56.1 Statement

in Supp. of Mot. (“Def.’s 56.1”); Pls.’ Counterstatement to Def.’s 56.1 (“Pls.’ Counter 56.1”);

Pls.’ 56.1 Statement of Additional Facts in Opp’n to Mot. (“Pls.’ 56.1”); Def.’s Counterstatement

to Pls.’ 56.1 (“Def.’s Counter 56.1”); Def.’s Reply to Pls.’ Counter 56.1 (“Def.’s Reply 56.1”)

(Dkt. Nos. 140, 142, 143, 153, 154).)1



       1
          Local Civil Rule 56.1(a) requires the moving party to submit a “short and concise
statement, in numbered paragraphs, of the material facts as to which the moving party contends
there is no genuine issue to be tried.” The nonmoving party, in turn, must submit “a
correspondingly numbered paragraph responding to each numbered paragraph in the statement of
the moving party, and if necessary, additional paragraphs containing a separate, short[,] and
concise statement of additional material facts as to which it is contended that there exists a
genuine issue to be tried.” Local Civ. R. 56.1(b). “If the opposing party . . . fails to controvert a
fact set forth in the movant’s Rule 56.1 statement, that fact will be deemed admitted pursuant to
the local rule.” Baity v. Kralik, 51 F. Supp. 3d 414, 418 (S.D.N.Y. 2014) (citation and quotation
marks omitted); see also T.Y. v. N.Y.C. Dep’t of Educ., 584 F.3d 412, 418 (2d Cir. 2009) (same).
         Where the Parties identify disputed facts but with semantic objections only or by
asserting irrelevant facts, these purported disputes, which do not actually challenge the factual
substance described in the relevant paragraphs, the Court will not consider them as creating
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       A. Factual Background

           1. Class Attendance

       One of the issues highlighted in the Parties’ papers is the question of J.C.T. allegedly

missing a significant amount of class time at school. Accordingly, the Court summarizes some

of the undisputed and disputed facts on this issue.

       J.C.T. testified that his disabilities, which include early onset bipolar disorder and

Attention Deficit Hyperactivity Disorder (“ADHD”), (see Def.’s 56.1 ¶ 17; Pls.’ 56.1 ¶ 1),

affected his ability to remain in class during the 2011–12 school year by triggering him to leave

some of his classes when he was asked to do classwork, (Def.’s 56.1 ¶ 18). J.C.T.’s




disputes of fact. See Baity, 51 F. Supp. 3d at 418 (“Many of [the] [p]laintiff’s purported
denials—and a number of his admissions—improperly interject arguments and/or immaterial
facts in response to facts asserted by [the] [d]efendants, often speaking past [the] [d]efendants’
asserted facts without specifically controverting those same facts.”); id. (“[A] number of [the]
[p]laintiffs’ purported denials quibble with [the] [d]efendants’ phraseology, but do not address
the factual substance asserted by [the] [d]efendants.”); Pape v. Bd. of Educ. of Wappingers Cent.
Sch. Dist., No. 07-CV-8828, 2013 WL 3929630, at *1 n.2 (S.D.N.Y. July 30, 2013) (explaining
that the plaintiff’s 56.1 statement violated the rule because it “improperly interjects arguments
and/or immaterial facts in response to facts asserted by [the] [d]efendant, without specifically
controverting those facts,” and “[i]n other instances, . . . neither admits nor denies a particular
fact, but instead responds with equivocal statements”); Goldstick v. The Hartford, Inc., No. 00-
CV-8577, 2002 WL 1906029, at *1 (S.D.N.Y. Aug. 19, 2002) (noting that the plaintiff’s 56.1
statement “does not comply with the rule” because “it adds argumentative and often lengthy
narrative in almost every case[,] the object of which is to ‘spin’ the impact of the admissions
[the] plaintiff has been compelled to make”).
        In some instances, the Parties identify actual disputes of fact but fail to cite the supporting
portions of the record; this also could permit the Court to deem the challenged facts undisputed.
See Holtz v. Rockefeller & Co., 258 F.3d 62, 73 (2d Cir. 2001) (explaining that the court is not
required to search the record for genuine issues of material fact that the party opposing summary
judgment failed to bring to the court’s attention); Baity, 51 F. Supp. 3d at 418 (collecting cases
holding that “responses that do not point to any evidence in the record that may create a genuine
issue of material fact do not function as denials, and will be deemed admissions of the stated
fact” (citations, alteration, and quotation marks omitted)).
        Therefore, where the Court cites to only one of the Parties’ Rule 56.1 Statements or
Counterstatements, that fact is materially undisputed unless noted otherwise.


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Individualized Education Plan (“IEP”) for the 2011–12 school specifically recommended that

J.C.T. take breaks from the classroom, especially as “levels of frustration escalate or fatigue sets

in.” (Aff. of Committee on Special Education (“CSE”) Chairperson Elizabeth Wright (“Wright”)

(“Wright Aff.”) Ex. K (“Feb. 15, 2012 CSE Meeting Notes and IEP”) 10 (Dkt. No. 127-11).)2

       During the 2011–12 school year, J.C.T. commonly left classrooms after the instructional

portion had ended and just before he was required to do group or individual schoolwork. (Def.’s

56.1 ¶¶ 19, 21.) J.C.T. would frequently go to the bathroom, the nurse’s office, Guidance

Counselor Jason Sclafani’s (“Sclafani”) office, or Special Education Teacher Clint Keegan’s

(“Keegan”) classroom. (Id. ¶ 22.) When J.C.T. left the classroom during the 2011–12 school

year, his teaching assistant would either follow him or search for him at his usual locations. (Id.

¶ 25.)3 Although Defendant contends that, during his absences, J.C.T. would often do make-up

work or schoolwork with Keegan or a teaching assistant, Plaintiffs, pointing repeatedly to the

same quotes from J.C.T.’s deposition, counter that J.C.T. believed that this “teaching” was

“rarely successful” and that he would rarely do the work that was assigned before he left the

classroom. (See Pls.’ Counter 56.1 ¶¶ 30–31.) On this point, Plaintiffs also repeatedly point to

the testimony of Keegan at the Impartial Hearing Officer (“IHO”) proceedings, where he

testified that he did not recall what J.C.T. typically did when he left class, whether excused or

unexcused. (Id.) Sclafani contends that he would usually get a call from the school nurse or

from Keegan about J.C.T’s wandering and would go find J.C.T. and try to talk to him. (Def.’s



       2
        Due to varying native pagination, the Court refers to the ECF page numbers, stamped in
the upper right-hand corner of each page, for this exhibit.
       3
         J.C.T.’s teaching assistant from the beginning of the 2011–12 school year in September
2011 to early February 2012 was Amy Kaufman (“Kaufman”). Kim Stein-Dince (“Stein-
Dince”) was J.C.T.’s teaching assistant for the rest of the 2011–12 school year. (See Pls.’ 56.1
¶¶ 120–21.)
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56.1 ¶ 32.) Sclafani avers that, in those circumstances, he would usually obtain the requisite

classwork from the relevant teacher and bring that material down to J.C.T. in an attempt to either

get J.C.T. to return to the academic classroom or to do the work, often in Keegan’s classroom.

(Sclafani Aff. in Supp. of Mot. (“Sclafani Aff.”) ¶ 9 (Dkt. No. 129).) Plaintiffs dispute this

assertion but only cite to the same segments of J.C.T.’s testimony where he generally testified

that “he wasn’t being taught” while he was out of his academic classrooms and that it was rare

that he “would not have done the work” assigned to him outside of the classroom. (Pls.’ Counter

56.1 ¶ 33.) Stein-Dince affirms that she would usually follow J.C.T. out of the classroom and, if

she could not get J.C.T. to return after a few minutes, she and J.C.T. would usually sit down in

the hallway and try to do the schoolwork until the end of that class period, (see Def.’s 56.1

¶¶ 35–36), but Plaintiffs partially dispute this, once again pointing to the same testimony of J.C.T

and Keegan as discussed above, (see Pls.’ Counter 56.1 ¶ 36).

       Plaintiffs contend that J.C.T. was reported to have 197 excused and unexcused absences

during the 2011–12 school year. (Pls.’ 56.1 ¶ 222.) The Parties acknowledge that there were

problems with the accuracy of the information recorded for period-by-period attendance for the

2011–12 school year, (see Def.’s Counter 56.1 ¶ 222; Pls.’ Mem. in Opp’n to Mot. (“Pls.’

Mem.”) 12 (Dkt. No. 141)), but Defendant argues that this suggests that the number of true

absences was below 197, (Def.’s Counter 56.1 ¶ 222), while Plaintiffs argue that this suggests

that the number of true absences was possibly above 197, (Pls.’ Mem. 12). Defendant posits that

this number, which comes from the Student Period Attendance Detail for the 2011–12 school

year, (see Aff. of Cary Vigilante (“Vigilante”) (“Vigilante Aff.”) Ex. A (“2011–12 Period

Attendance”) (Dkt. No. 133-1)), exaggerates the amount of time that J.C.T. spent unattended

because (1) teachers would mark him absent even if he was with the guidance counselor or



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school nurse, which should have been noted as an excused absence or delay, (Vigilante Aff. ¶ 3

(Dkt. No. 133)); (2) J.C.T. was sometimes picked up from school by his parents to attend

tutoring sessions for his ninth period, which was an excused absence but not always designated

as such, (id. ¶ 19); (3) J.C.T was sometimes picked up from school because of illness, which was

an excused absence but not always designated as such, (id.); and (4) there were multiple

recording errors apparent from the face of the records, (see id. ¶¶ 5–18; see also Def.’s Counter

56.1 ¶ 222). Defendant argues that an “accurate examination” of the 2011–12 Period Attendance

report “reveals that there were no more than about 12 unexcused absences of J.C.T. in total from

J.C.T.’s core academic class periods during days in which he was in attendance at school” for the

2011–12 school year. (Def.’s Counter 56.1 ¶ 222 (citing to Aff. of Principal Martin Fitzgerald

(“Fitzgerald”) (“Fitzgerald Aff.” ) ¶ 18 (Dkt. No. 135)).) Based on a total of 724 total core

academic class sessions for the school year, Defendant claims that J.C.T. actually only missed

less than 2% of core academic periods. (See Fitzgerald Aff. ¶ 20.) Even accounting for all

excused and unexcused absences during days when he was in school, “as modified by

[Vigilante’s] [A]ffidavit,” which sought to correct a number of purported recording errors,

Fitzgerald claims that J.C.T. only missed 30 core academic class periods, indicative of a 4%

absence rate for those classes, one that Fitzgerald does not consider to “reflect a pattern of

unexcused absences” or “excessive absenteeism” from core academic classes. (See id. ¶¶ 21–

22.)

       Plaintiffs argue that the report actually underreports the amount of time that J.C.T. spent

unattended because (1) Mallory Chinn (“Chinn”), a social studies teacher, wrote that she would

not mark J.C.T. absent when the school nurse, Sclafani, or Keegan provided “advance notice”

that J.C.T. would not be in class that day, (Chinn Aff. in Supp. of Mot. (“Chinn Aff.”) ¶ 2 (Dkt.



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No. 136)); (2) Sclafani testified at the IHO Hearing that he “couldn’t tell you where [J.C.T.] was

each and every one of” the times J.C.T. was marked absent because “three years” later, “it’s hard

to recall where [J.C.T.] was then,” (Pls.’ 56.1 ¶ 225; Def.’s Counter 56.1 ¶ 225); (3) the school

nurse allegedly reported that J.C.T. frequently came to the nurse’s office without being

accompanied by Sclafani or Keegan, although Plaintiffs do not cite to a source for this

proposition, (Pls.’ 56.1 ¶¶ 233–34); and (4) another teacher, Patricia Wolff (“Wolff”), did not

report J.C.T. absent when she received “notice in advance” from Keegan that J.C.T was with

Keegan, (Wolff Aff. in Supp. of Mot. (“Wolff Aff.”) ¶ 6 (Dkt. No. 137)). Plaintiffs offer no

proposed number outside of the number reported in the 2011–12 Period Attendance report as to

what their estimates of J.C.T.’s actual absences were for the 2011–12 school year.

               2. School Bus

        During the 2011–12 school year, J.C.T. had been riding the school bus to and from

school until February 7, 2012. (Def.’s 56.1 ¶ 198.) In early February 2012, J.C.T. was involved

in an altercation with another student on the school bus. (Id. ¶ 199.) Although J.C.T. told K.C.,

J.C.T’s mother, that J.C.T. was the victim of the assault, (id.), in reality, a video of the incident

revealed that J.C.T. had been the aggressor, (Def.’s Counter 56.1 ¶ 210). As a result of this

incident, K.C. attended a meeting with Assistant Principal Timothy Doyle (“Doyle”), where

Doyle told K.C. that “it would be best” if J.C.T. did not take the bus for a while, and if J.C.T. did

need to take the bus, J.C.T.’s parents should give advance notice so that they could try to have an

aide on the bus. (Pls.’ Counter 56.1 ¶ 199.) K.C. ultimately never asked for an aide to

accompany J.C.T. on the bus because she believed it would subject J.C.T. to “name-calling.”

(Id. ¶ 200.)




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          Doyle affirms that he has never prohibited any Bell student from taking the school bus to

or from school and has never told any Bell student’s parent, including K.C., that their child was

prohibited from taking the school bus to or from school. (Id. ¶ 201.) In fact, any involuntary

removal from the bus for more than a few days would have required a disciplinary decision-

making process, such as a formal suspension hearing, which never occurred as to J.C.T. (Id.

¶ 202.)

          In an email dated March 26, 2012, K.C. asked Keegan whether J.C.T. could resume

taking the school bus. (Id. ¶ 203.) In that email, K.C. wrote, “I wanted to follow up on our

meeting at the beginning of February . . . . We had discussed [J.C.T.’s] then-recent behavior at

school and on the bus and it was decided that [J.C.T.’s teaching assistant] would shadow him

more closely . . . . I was also asked to bring [J.C.T.] to and pick him up from school rather than

[J.C.T.] taking the bus, otherwise a [teaching assistant] would need to be on the school bus with

[J.C.T.] As it is the end of March, I am wondering if [J.C.T.] may resume taking the school

bus?” (Aff’n of Mark C. Rushfield, Esq. (“Rushfield Aff’n”) Ex. HH (“2012 K.C. Bus Email”)

(Dkt. No. 126-34).) Keegan responded, stating “I cannot say definitively that I would have

[J.C.T.] take the school bus home as this is a parenting decision. I can say that [J.C.T.] has been

increasingly resistant to support over the last several days, indicating to me a need for a

structured delivery to and from school. I hope this helps.” (Rushfield Aff’n Ex. Y (“2012

Keegan Bus Email”) (Dkt. No. 126-25).)

          As of May 2012, J.C.T. sporadically, but rarely, rode the school bus; mostly, his parents

would drive him to and/or from school. (Pls.’ Counter 56.1 ¶ 208.) On the occasions that J.C.T.




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did take the bus home from school after April 16, 2012, he did so without any prohibitions or

limitations imposed by the District or Bell. (Id. ¶ 209.)4, 5

       Indeed, K.C. herself affirms that J.C.T “was not forbidden from taking the bus.” (Decl.

of Rachel Asher, Esq. (“Asher Decl.”) Ex. B (“K.C. Aff.”) ¶ 52 (Dkt. No. 144-2).) However,

K.C. stated that Doyle’s statements “discouraged” K.C. from allowing J.C.T to take the bus, (id.

¶ 55), and that although Keegan told K.C. that it was “[her] decision,” his email also appeared to

express his own personal belief that J.C.T should not be riding the school bus, (id. ¶ 58).

       B. Procedural History

       On September 29, 2018, this Court issued an Opinion that declined to grant Defendant’s

Motion for Partial Summary Judgment Based on the Statute of Limitations (the “2018 Opinion”).

(See 2018 Op. 40.) In that Opinion, the Court concluded that there were credible disputes as to

Plaintiffs’ knowledge or constructive knowledge of the underlying issues. (See id. at 35, 39.)

Notably, the Court applied the summary judgment standard used for Rule 56 motions (as

opposed to the altered procedure used in IDEA cases, discussed below) to resolve this issue.



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        Although Plaintiffs purport to deny this statement, they only cite to the same line from
Keegan’s email referenced above, which does not contest the factual truth of Defendant’s
statement as to the conditions of J.C.T.’s bus rides on the few occasions during which he did take
the school bus.
       5
         Defendant’s 56.1 Statement writes that J.C.T. was able to take the school bus to or from
school after April 16, 2016 without prohibitions or limitations imposed by the District. (See
Def.’s 56.1 ¶ 209; Pls.’ Counter 56.1 ¶ 209.) However, the Court construes 2016 to be a
typographical error because in the cited source, K.C.’s February 28, 2019 Deposition Transcript,
K.C. is clearly discussing the 2011–12 school year. (See Rushfield Aff’n Ex. H (“Def.’s 2019
K.C. Dep. Tr. Excerpt”) 116–17 (Dkt. No. 126-8) (“Q: And when you had [J.C.T.] ride the bus,
whatever direction it was, sometime after April 16th 2012, did anybody preclude him from riding
the bus, was he prohibited from doing so? A: No. I started having him take the bus
occasionally, to see if there were any incidents. Q: And were there any? A: No. Q: And did you
continue having him ride the bus on a regular basis after you found there were no incidents? A: I
don’t remember. I think it was mixed. Q: So sometimes he did, sometimes he didn’t? A:
Correct.”).)
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(See id. at 23–25.) In an earlier Opinion, the Court concluded that it owed no deference to the

State Reviewing Officer’s (“SRO”) decision regarding the timeliness of Plaintiffs’ claims as to

the implementation of the 2011–12 IEP (the “2017 Opinion”). (See 2017 Op. 18–19.)6

       Following the issuance of the 2018 Opinion, the Parties appeared for a Status Conference

on November 9, 2018, where the Parties were instructed to file a proposed case management

order. (See Dkt. (minute entry for Nov. 9, 2018).) The proposed case management order was

adopted on November 29, 2018. (See Case Management Plan and Scheduling Order (“Case

Management Order”) (Dkt. No. 96).) The Parties appeared before Magistrate Judge Paul E.

Davison for a Settlement Conference, but the case did not settle. (See Dkt. (minute entry for

May 14, 2019).) Prior to the Settlement Conference, Defendant had already requested a Pre-

Motion Conference to file the instant Motion, (see Dkt. No. 117), and a Motion Scheduling

Order was adopted on June 6, 2019, (see Mot. Scheduling Order (Dkt. No. 124)).

       On August 2, 2019, Defendant submitted its Motion and accompanying papers, including

multiple affidavits. (See Not. of Mot.; Def.’s Mem. of Law in Supp. of Mot. (“Def.’s Mem.”)

(Dkt. Nos. 125, 139); see also Def.’s 56.1.) Plaintiffs then submitted their Opposition and

accompanying papers on September 16, 2019. (See Pls.’ Mem.; Pls.’ 56.1; Pls.’ Counter 56.1;

see also Asher Decl. (Dkt. No. 144).) Defendant submitted its Reply papers on October 31,

2019. (See Reply Mem. of Law in Supp. of Mot. (“Def.’s Reply Mem.”) (Dkt. No. 152); see

also Def.’s Counter 56.1; Def.’s Reply 56.1.)




       6
         Because the SRO considered May 27, 2012 the earliest possible day for accrual of
timely claims and concluded that no tolling exception applied, the SRO refused to consider any
IEP implementation claims beyond those that arose in the last month of the 2011–12 school year.
(See Rushfield Aff’n Ex. C (“SRO Decision”) 15 (Dkt. No. 126-3).)
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                                           II. Discussion

       A. Standards of Review

       As Defendant is moving for both Rule 56 summary judgment as to Plaintiffs’ Counts

Three, Four, and Five (Plaintiffs’ claims of discrimination under Section 504 and the ADA) and

for IDEA-related summary judgment on Plaintiffs’ Counts One, Two, and Three (the claims

relating to the alleged denial of a FAPE), (see Def.’s Mem. 2), two separate legal standards apply

when resolving the different issues presented in the instant Motion.7

           1. Rule 56(a)

       Summary judgment is appropriate where the movant shows that “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); see also Psihoyos v. John Wiley & Sons, Inc., 748 F.3d 120, 123–24 (2d Cir.

2014) (same). “In determining whether summary judgment is appropriate,” a court must

“construe the facts in the light most favorable to the non-moving party and . . . resolve all

ambiguities and draw all reasonable inferences against the movant.” Brod v. Omya, Inc., 653

F.3d 156, 164 (2d Cir. 2011) (quotation marks omitted); see also Borough of Upper Saddle River

v. Rockland Cty. Sewer Dist. No. 1, 16 F. Supp. 3d 294, 314 (S.D.N.Y. 2014) (same). “It is the

movant’s burden to show that no genuine factual dispute exists.” Vt. Teddy Bear Co. v. 1-800




       7
          Plaintiffs claim that “Defendant is silent on Plaintiffs’ Third Cause of Action,” (Pls.’
Mem. 1–2), but this is clearly not true, as Defendant states, “The District also contends that []
Plaintiffs’ claims under Section 504 and the ADA under the Third (in part), Fourth and Fifth
Causes of Action in the Amended Complaint should be dismissed,” and also refers to the Third
Cause of Action in its arguments on the IDEA issues. (Def.’s Mem. 2, 12.) As Plaintiffs’ Third
Cause of Action refers to both the adequacy of J.C.T.’s IEPs and Section 504, both prongs of
Defendant’s overall argument cover the entirety of the Third Cause of Action. The substantive
disposition of the underlying FAPE and Section 504 issues would inherently affect the outcome
of Plaintiffs’ Third Count as well. Therefore, the entirety of the Amended Complaint is at stake
in the instant Motion.
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Beargram Co., 373 F.3d 241, 244 (2d Cir. 2004); see also Berry v. Marchinkowski, 137 F. Supp.

3d 495, 521 (S.D.N.Y. 2015) (same).

        “However, when the burden of proof at trial would fall on the nonmoving party, it

ordinarily is sufficient for the movant to point to a lack of evidence to go to the trier of fact on an

essential element of the nonmovant’s claim,” in which case “the nonmoving party must come

forward with admissible evidence sufficient to raise a genuine issue of fact for trial in order to

avoid summary judgment.” CILP Assocs., L.P. v. Pricewaterhouse Coopers LLP, 735 F.3d 114,

123 (2d Cir. 2013) (alteration and quotation marks omitted). Further, “[t]o survive a [summary

judgment] motion . . . , [a nonmovant] need[s] to create more than a ‘metaphysical’ possibility

that his allegations were correct; he need[s] to ‘come forward with specific facts showing that

there is a genuine issue for trial,’” Wrobel v. County of Erie, 692 F.3d 22, 30 (2d Cir. 2012)

(emphasis omitted) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

586–87 (1986)), “and cannot rely on the mere allegations or denials contained in the pleadings,”

Guardian Life Ins. Co. v. Gilmore, 45 F. Supp. 3d 310, 322 (S.D.N.Y. 2014) (quotation marks

omitted); see also Wright v. Goord, 554 F.3d 255, 266 (2d Cir. 2009) (“When a motion for

summary judgment is properly supported by documents or other evidentiary materials, the party

opposing summary judgment may not merely rest on the allegations or denials of his

pleading . . . .”).

        “On a motion for summary judgment, a fact is material if it might affect the outcome of

the suit under the governing law.” Royal Crown Day Care LLC v. Dep’t of Health & Mental

Hygiene, 746 F.3d 538, 544 (2d Cir. 2014) (quotation marks omitted). At this stage, “[t]he role

of the court is not to resolve disputed issues of fact but to assess whether there are any factual

issues to be tried.” Brod, 653 F.3d at 164 (quotation marks omitted). Thus, a court’s goal should



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be “to isolate and dispose of factually unsupported claims.” Geneva Pharm. Tech. Corp. v. Barr

Labs. Inc., 386 F.3d 485, 495 (2d Cir. 2004) (quotation marks omitted) (quoting Celotex Corp. v.

Catrett, 477 U.S. 317, 323–24 (1986)).

       When ruling on a motion for summary judgment, a district court should consider only

evidence that would be admissible at trial. See Nora Beverages, Inc. v. Perrier Group of Am.,

Inc., 164 F.3d 736, 746 (2d Cir. 1998). “[W]here a party relies on affidavits . . . to establish

facts, the statements ‘must be made on personal knowledge, set out facts that would be

admissible in evidence, and show that the affiant . . . is competent to testify on the matters

stated.’” DiStiso v. Cook, 691 F.3d 226, 230 (2d Cir. 2012) (quoting Fed. R. Civ. P. 56(c)(4));

see also Sellers v. M.C. Floor Crafters, Inc., 842 F.2d 639, 643 (2d Cir. 1988) (“Rule 56 requires

a motion for summary judgment to be supported with affidavits based on personal knowledge

. . . .”); Baity v. Kralik, 51 F. Supp. 3d 414, 419 (S.D.N.Y. 2014) (disregarding “statements not

based on [the] [p]laintiff’s personal knowledge”); Flaherty v. Filardi, No. 03-CV-2167, 2007

WL 163112, at *5 (S.D.N.Y. Jan. 24, 2007) (“The test for admissibility is whether a reasonable

trier of fact could believe the witness had personal knowledge.” (quotation marks omitted)).

           2. IDEA

       The Court’s inquiry under the IDEA is limited to addressing (1) whether the District

“complied with the procedures set forth in the Act” and (2) whether the IEP “developed through

the Act’s procedures [was] reasonably calculated to enable the child to receive educational

benefits.” Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist., Westchester Cty. v. Rowley, 458

U.S. 176, 206–07 (1982) (footnotes omitted). Unlike with an ordinary summary judgment

motion, the existence of a disputed issue of material fact will not necessarily defeat a motion for

summary judgment in the IDEA context. See T.P. ex rel. S.P. v. Mamaroneck Union Free Sch.



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Dist., 554 F.3d 247, 252 (2d Cir. 2009) (per curiam); G.B. ex rel. N.B. v. Tuxedo Union Free Sch.

Dist., 751 F. Supp. 2d 552, 570 (S.D.N.Y. 2010) (same), aff’d, 486 F. App’x 954 (2d Cir. 2012).

Instead, summary judgment in IDEA cases is “in substance an appeal from an administrative

determination, not a summary judgment.” Lillbask ex rel. Mauclaire v. Conn. Dep’t of Educ.,

397 F.3d 77, 83 n.3 (2d Cir. 2005) (quotation marks omitted); see also G.B., 751 F. Supp. 2d at

570 (same). The Court’s review therefore “requires a more critical appraisal of the agency

determination than clear-error review but falls well short of complete de novo review.” L.O. v.

N.Y.C. Dep’t of Educ., 822 F.3d 95, 108 (2d Cir. 2016) (quotation marks and italics omitted).

Accordingly, the Court must “engage in an independent review of the administrative record and

make a determination based on a preponderance of the evidence.” M.H. v. N.Y.C. Dep’t of

Educ., 685 F.3d 217, 240 (2d Cir. 2012) (quotation marks omitted).

       However, such review “is by no means an invitation to the courts to substitute their own

notions of sound educational policy for those of the school authorities which they review.”

Rowley, 458 U.S. at 206. “To the contrary, federal courts reviewing administrative decisions

must give due weight to these proceedings, mindful that the judiciary generally lacks the

specialized knowledge and experience necessary to resolve persistent and difficult questions of

educational policy.” M.H., 685 F.3d at 240 (quotation marks omitted). To merit deference, the

IHO’s and SRO’s decisions must be “thorough and careful.” S.C. v. Katonah-Lewisboro Cent.

Sch. Dist., 175 F. Supp. 3d 237, 252 (S.D.N.Y. 2016) (quotation marks omitted). The quality of

the decision can be judged on factors such as whether it is “well-reasoned” and “based on

substantially greater familiarity with the evidence and the witnesses than the reviewing court.”

R.E v. N.Y.C. Dep’t of Educ., 694 F.3d 167, 189 (2d Cir. 2012) (quotation marks omitted); see

also L.O., 822 F.3d at 109 (“To merit deference, the SRO’s or IHO’s factual findings must be



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reasoned and supported by the record.” (alteration and quotation marks omitted)). Additionally,

the Second Circuit has instructed courts that deference to an SRO’s decision is more appropriate

when the substantive adequacy of an IEP, as opposed to the procedural adequacy, is at issue;

when the decision involves a dispute over an appropriate educational methodology versus

determinations regarding objective indications of progress; and when the district court’s decision

is based solely on the administrative record that was before the SRO. See M.H., 685 F.3d at 244.

       Further, generally, “courts must defer to the reasoned conclusions of the SRO as the final

state administrative determination.” Id. at 246 (emphasis added); see also A.C. v. Bd. of Educ. of

Chappaqua Cent. Sch. Dist., 553 F.3d 165, 171 (2d Cir. 2009) (noting that “[i]f the SRO’s

decision conflicts with the earlier decision of the IHO, the IHO’s decision may be afforded

diminished weight,” because the court must “defer to the final decision of the state authorities”

(quotation marks omitted)). However, if the Court concludes that

       the SRO’s determinations are insufficiently reasoned to merit . . . deference, and in
       particular where the SRO rejects a more thorough and carefully considered decision
       of an IHO, it is entirely appropriate for the court, having in its turn found the SRO’s
       conclusions unpersuasive even after appropriate deference is paid, to consider the
       IHO’s analysis.

M.H., 685 F.3d at 246. Therefore, this Court “must defer to the SRO’s decision on matters

requiring educational expertise unless it concludes that the decision was inadequately reasoned,

in which case a better-reasoned IHO opinion may be considered instead.” R.E., 694 F.3d at 189;

see also C.L. v. N.Y.C. Dep’t of Educ., No. 12-CV-1676, 2013 WL 93361, at *5 (S.D.N.Y. Jan.

3, 2013) (“[T]he Second Circuit [has] explained that the deference owed to an SRO’s decision

depends on the quality of that opinion, or its persuasiveness.” (citation and quotation marks

omitted)), aff’d, 552 F. App’x. 81 (2d Cir. 2014).




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       B. Analysis

           1. Section 504 and ADA Claims

       Although noting that the question of the accuracy of the SRO’s statute of limitations

determination is “still a live one before the Court,” (Def.’s Mem. 1 n.2), Defendant now argues

that, regardless of the time bar or the related exhaustion issues arising from the interplay between

Plaintiffs’ IDEA and discrimination claims, as to Counts Four and Five, Plaintiffs have failed to

“establish a prima facie case of disparate treatment in comparison to non-disabled students based

upon J.C.T.’s disability” or the lack of a reasonable accommodation. (Def.’s Mem. 2 (italics

omitted).) In particular, Defendant argues, J.C.T. is unable to identify any “existing” program or

practice from which he was excluded as a result of his disabilities, which is a necessary element

and distinct from whether J.C.T. should have been provided with “substantively different

services than those provided” through his IEPs. (Id. at 20.) As to Plaintiffs’ argument that the

deprivation of a FAPE rose to the level of discrimination under Section 504 or the ADA,

Defendant argues that Plaintiffs have failed to identify the requisite additional elements of gross

negligence of reckless indifference. (Id. at 21–22.) In resolving this portion of Defendant’s

Motion, the Court has examined the Parties’ Memoranda and all the accompanying affirmations,

affidavits, exhibits, and deposition transcripts.

       The ADA provides that “no qualified individual with a disability shall, by reason of such

disability, be excluded from participation in or be denied the benefits of the services, programs,

or activities of a public entity, or be subjected to discrimination by any such entity.” 42 U.S.C.

§ 12132. Similarly, Section 504 of the Rehabilitation Act provides that “[n]o otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination under any



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program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a). To make out a

prima facie case under either of these statutes, a plaintiff must show: “(1) [the] plaintiff is a

qualified individual with a disability; (2) [the] plaintiff was excluded from participation in a

public entity’s services, programs[,] or activities or was otherwise discriminated against by [the]

public entity; and (3) such exclusion or discrimination was due to [the] [plaintiff’s] disability.”

B.C. v. Mount Vernon Sch. Dist., 837 F.3d 152, 158 (2d Cir. 2016) (citation and quotation marks

omitted); see also Ortiz v. Westchester Med. Ctr. Health Care Corp., No. 15-CV-5432, 2016 WL

6901314, at *9 (S.D.N.Y. Nov. 18, 2016) (holding that “the same legal standards govern the

disability provisions of the ADA [and] [Section 504]”). Because the two statutes have the same

requirements, courts frequently analyze them together. See K.M. v. Hyde Park Cent. Sch. Dist.,

381 F. Supp. 2d 343, 357 (S.D.N.Y. 2005) (collecting cases).

       To plead a claim under either statute, Plaintiffs must show that Defendant “acted with

bad faith or gross misjudgment” when administering disability services. See Maus v.

Wappingers Cent. Sch. Dist., 688 F. Supp. 2d 282, 301 (S.D.N.Y. 2010) (citation and quotation

marks omitted). Because the ADA and Section 504 “address discrimination against disabled

students, rather than incorrect or erroneous special education treatments, as in the case of [the]

IDEA,” there must be “something more than a mere violation of the IDEA . . . in order to show a

violation of [either statute] in the context of educating children with disabilities.” Scaggs v. N.Y.

Dep’t of Educ., No. 06-CV-799, 2007 WL 1456221, at *15 (E.D.N.Y. May 16, 2007) (citation

and quotation marks omitted). A plaintiff is not required to “show defendants acted with

animosity or ill will.” R.B. ex rel. L.B. v. N.Y.C. Bd. of Educ., 99 F. Supp. 2d 411, 419 (S.D.N.Y.

2000) (citations omitted). “Rather, intentional discrimination may be inferred when a school

district acts with gross negligence or reckless indifference in depriving a child of access to a



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FAPE.” Rutherford v. Fla. Union Free Sch. Dist., No. 16-CV-9778, 2019 WL 1437823, at *34

(S.D.N.Y. Mar. 29, 2019) (citation omitted). Therefore, claims of discrimination under Section

504 and the ADA and claims of deprivation of a FAPE, although “complementary,” “address

different injuries and thus require different proof.” Gabel ex rel. L.C. v. Bd. of Educ. of Hyde

Park Cent. Sch. Dist., 368 F. Supp. 2d 313, 333 (S.D.N.Y. 2005). Whereas “denial of access to

an appropriate educational program on the basis of a disability is a Section 504 [and ADA] issue,

. . . dissatisfaction with the content of an IEP would fall within the purview of IDEA.” Id. at

333–34 (emphasis in original).

       Although Plaintiffs have raised a number of issues that suggest dissatisfaction with the

effectiveness of the content of J.C.T.’s IEPs, the record shows that no reasonable jury could

conclude that the District acted intentionally or with reckless indifference in failing to provide

J.C.T. with a FAPE or otherwise limiting J.C.T.’s access to programs accessible to non-disabled

students.8

       Based on the record, the only possible basis for arguing that J.C.T. suffered a particular

form of exclusion based on his disability was Plaintiffs’ allegation that he was “banned from the

school bus, and no attempt was made to ameliorate this.” (Am. Compl. ¶ 131.) Upon close

examination of the record, however, the Court concludes that this practice—which was not truly

a “ban”—did not violate J.C.T.’s constitutional rights. To begin, K.C. herself acknowledges that

the recommendation that J.C.T. temporarily not ride the school bus was not a prohibition. (See

K.C. Aff. ¶¶ 52–59.) Indeed, the District provided an option for reasonably accommodating

J.C.T. on the bus, suggesting that if J.C.T.’s parents were ever unable to transport J.C.T. to




       8
         Defendant does not dispute that J.C.T. is disabled for purposes of protection under
Section 504 or the ADA. (See Def.’s 56.1 ¶ 1.)
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school, they should inform the school so that J.C.T. could be accompanied by a teacher’s

assistant. (See Pls.’ Counter 56.1 ¶ 199.) Moreover, Keegan explicitly informed K.C. that

resuming J.C.T.’s trips on the school bus was a parental decision, (see 2012 Keegan Bus Email),

and K.C., through her own judgment, concluded that she wanted to avoid having J.C.T. ride the

bus with a teacher’s assistant, because she was concerned it would subject J.C.T. to “name-

calling,” (Pls.’ Counter 56.1 ¶ 200). On some occasions, J.C.T. even did ride the bus after April

16, 2012, which K.C. acknowledged as her attempts “to see if there were any incidents.” (Def.’s

2019 K.C. Dep. Tr. Excerpt 117.) K.C. also acknowledged no one attempted to preclude J.C.T.

from doing so and noted that there were no further incidents on the school bus. (Id. at 116–17.)

Therefore, the record shows that there was simply no “[e]xclusion,” as required for a

discrimination claim. See B.C., 837 F.3d at 158 (“Exclusion or discrimination may take the form

of disparate treatment, disparate impact, or failure to make a reasonable accommodation.”

(citation omitted)). Even assuming arguendo that Doyle’s recommendation rose to the level of a

prohibition on J.C.T. riding the school bus alone, the District made it clear that it would provide

a teacher’s assistant to accompany J.C.T. on days he needed to ride the bus, proposing a

reasonable accommodation for J.C.T.’s emotional disabilities. (Pls.’ Counter 56.1 ¶ 199.)

Plaintiffs cite no case law, and the Court is aware of none, that supports the proposition that mere

advice from Doyle or Keegan regarding the appropriateness of J.C.T. riding the school

constitutes discrimination under Section 504 or the ADA.

       Furthermore, when asked whether there were any programs or opportunities that non-

disabled students had that J.C.T. was prevented from engaging in, J.C.T. testified in his

deposition that although J.C.T. “got the sense that [J.C.T.] wouldn’t be welcomed” to some

activities, he could not list any activities from which he was prevented engaging with on the



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basis of his disability. (See Rushfield Decl. Ex. F (“Def.’s J.C.T. Dep. Tr. Excerpt”) 117–18

(Dkt. No. 126-6).) J.C.T. instead responded that his main deprivation was accommodations of

his inability to focus in general education classrooms, (see id. at 120–21), which is one of the

main issues that Plaintiffs have with the substance of J.C.T.’s IEPs, (see Pls.’ Mem. 21–24).

        With no other specific, identifiable exclusionary conduct to support their discrimination

claims, Plaintiffs must rely on the argument that the District’s alleged failure to properly

construct or implement J.C.T.’s IEPs rose to the level of discriminatory behavior under Section

504 or the ADA. (See Pls.’ Mem. 21.) Plaintiffs argue that (1) J.C.T.’s educational needs were

not met “as adequately as the needs of non-handicapped persons are met”; (2) J.C.T.’s time

outside of the classroom was indicative of J.C.T. not receiving “regular . . . instruction from

certified teachers during the” 2011–12 school year, which “unilaterally shortened” his school

day; and (3) both of these acts were committed with “deliberate indifference.” (Pls.’ Mem. 21–

24.) These claims are nothing more than “restatements of [Plaintiffs’] IDEA claims,” Y.A. v.

N.Y.C. Dep’t of Educ., No. 15-CV-5790, 2016 WL 5811843, at *20 (S.D.N.Y. Sept. 21, 2016)

(citation, alteration, and quotation marks omitted), which also argue that J.C.T.’s IEPs were

insufficient and improperly implemented because J.C.T spent significant amounts of time outside

of the classroom and isolated from his peers, (see Am. Compl. ¶¶ 50–62, 85–94, 102). Indeed,

the Court has acknowledged the similarities underlying both categories of claims in previous

Opinions, noting that the questions of timeliness pertaining to Plaintiffs’ IDEA claims “would

apply with equal force to the Section 504 and ADA claims, which arise out of the same factual

predicate as the IDEA claims,” (2017 Op. 17 (emphasis added)), and that the “factual allegations

underlying the First, Second, and Third Causes of Action, and the Fourth and Fifth Causes of

Action, are substantially the same,” (2018 Op. 40). The fuller record before the Court now only



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confirms those initial evaluations, since it reveals no specific other form of exclusion or

discrimination.

       Nevertheless, the deprivation of a FAPE may in some cases constitute discrimination

under Section 504 or the ADA, but here, that argument fails because Plaintiffs’ own factual

statements and admissions belie the existence of the requisite elements of “gross negligence or

reckless indifference.” Rutherford, 2019 WL 1437823, at *34 (citation omitted). For example,

Plaintiffs acknowledge that “teaching assistants and non-teaching staff chased [J.C.T.] around

the school cajoling him to do some schoolwork,” which is a far cry from behavior indicative of

gross negligence or indifference to J.C.T.’s struggles at school. (Pls.’ Mem. 22 (citing to Pls.’

56.1 ¶¶ 170, 183, 185).) Nor is the existence of the “J.C.T. Schoolwork Avoidance Plan”

indicative of discrimination against J.C.T’s based on his disability.9 In fact, the Plan was a



       9
          The “J.C.T. Schoolwork Avoidance Plan” refers to a general strategy that was
purportedly used by Bell employees during the 2011–12 school year. (See Def.’s Counter 56.1
¶ 244.) Sclafani describes it as “a plan to address J.C.T.’s practice of schoolwork avoidance
whereby, consistent with [the] IEP, J.C.T. would be allowed a short break to either attend or
return to any academic class he was avoiding being in. If he could not be cajoled to attend or
return to that class after a few minutes break, . . . J.C.T. would be pressed to do the academic
schoolwork that he was required to perform in the class he was avoiding, or, if that could not be
done, other core academic subject schoolwork that he had failed to do, with the assistance of his
1:1 teaching assistant and/or such assistance as [Keegan] or I could offer.” (Sclafani Aff. ¶ 7.)
According to Sclafani, J.C.T. was usually pressed to work on the schoolwork “wherever it could
be done most effectively,” which included spaces like Keegan’s classroom, Sclafani’s room, or
“if absolutely necessary,” the health office. (Id.)
        This plan was corroborated by information provided by Annemarie Giannettino (“Dr.
Giannettino”), a school psychologist employed by Bell and the District, (see Dr. Giannettino Aff.
in Supp. of Mot. (“Dr. Giannettino Aff.”) ¶ 4 (Dkt. No. 128)), and Patricia Pollock (“Pollock”), a
nurse at Bell, (see Pollock Aff. in Supp. of Mot. (“Pollock Aff.”) ¶¶ 3–7 (Dkt. No. 130)).
Pollock noted that when J.C.T. came to her office complaining that “he didn’t feel well,” she
would notify J.C.T.’s teacher for that class period that J.C.T. was in the health office with her
and then contact Sclafani for “his advice as to how to handle the situation.” (Id. ¶¶ 2–3.)
Sclafani would occasionally instruct Pollock to “let J.C.T. lay down for a short period . . . to see
if he would improve and be able to return to his class.” (Id. ¶ 4.) However, if J.C.T. did not
improve, Pollock would recommend to Sclafani that she call K.C., to which Sclafani “routinely
agree[d].” (Id.) On those occasions, K.C. would come pick J.C.T. up from school. (See id.) On
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concerted effort between multiple members of Bell staff to attempt to refocus J.C.T. onto his

schoolwork whenever he became frustrated or wandered away from his assigned classroom.

(See supra note 8; Sclafani Aff. ¶¶ 7–9; Dr. Giannettino Aff. ¶ 4; Pollock Aff. ¶¶ 3–7; Kaufman

Aff. ¶¶ 3, 5–8, 10; Stein-Dince Aff. ¶¶ 3–9.) Rather than demonstrate any level of negligence or

recklessness, the record shows that Bell teachers and administration tried repeatedly to work

together to help J.C.T. refocus when he left the classroom and to control or diminish the number

and extent of J.C.T.’s emotional and physical outbursts. Plaintiffs may have experienced

frustration with the content, implementation, and effectiveness of the IEPs and with J.C.T.’s

continued behavioral issues, but that alone does not establish that the District acted with gross

negligence or reckless indifference. See Avaras v. Clarkstown Cent. Sch. Dist., No. 15-CV-

2042, 2017 WL 3037402, at *27–28 (S.D.N.Y. July 17, 2017) (finding no deliberate or reckless

indifference where the plaintiff parents alleged that the student was “warehoused in a self-

contained classroom” and noting that “simply contesting whether the [school-provided] benefits



other occasions, Sclafani or Keegan would “engage in efforts to encourage J.C.T. to promptly
return to [] class. If that class was ending shortly, [J.C.T.] would be encouraged to proceed to
[the] next class. If [J.C.T.] refused to return to a class, [J.C.T.] was encouraged to do the
schoolwork that he was missing in the core subject classes.” (Id. ¶ 5.) According to Pollock,
sometimes, “[d]espite all [their] efforts,” Pollock, Keegan, and/or Sclafani could not get J.C.T. to
cooperate and, in those situations, “J.C.T. would be allowed to rest in the [h]ealth [o]ffice until
such time as [they] might be able to get [J.C.T.] to return to class or to do any school work.”
(Id.) Usually, Sclafani or J.C.T.’s teaching assistant would accompany J.C.T. to the health
office, but if J.C.T. happened to arrive unaccompanied, Pollock claims she would contact
Sclafani or Keegan to let them know that J.C.T. was in the health office. (See id. ¶ 6.)
        One of J.C.T.’s teaching assistants, Kaufman, claims she was also aware of this overall
strategy to handle J.C.T.’s attention issues, and avers that she was “usually successful in getting
J.C.T to do some of the schoolwork which he had left a class to avoid” when she could not get
J.C.T. to return to class. (Kaufman Aff. in Supp. of Mot. (“Kaufman Aff.”) ¶ 5 (Dkt. No. 131).)
Another teaching assistant, Stein-Dince, claimed that she usually was able to accompany J.C.T
into the hallway and do work with him if she could not get J.C.T. to return to the classroom
within a few minutes. (See Stein-Dince Aff. in Supp. of Mot. (“Stein-Dince Aff.”) ¶ 6 (Dkt. No.
132).) Stein-Dince claimed that “[s]tudents doing their schoolwork in the hallways at Bell was,
and remains, common and was, and still is, permitted.” (Id.)
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[or accommodations] were appropriate” does not plausibly state a claim for actions taken “in bad

faith or as a result of gross misjudgment or negligence” (citation and quotation marks omitted));

Schreiber v. E. Ramapo Cent. Sch. Dist., 700 F. Supp. 2d 529, 565 (S.D.N.Y. 2010) (finding that

“there is no basis for a reasonable fact finder to conclude that the [d]istrict acted with deliberate

or reckless indifference or with gross negligence” despite findings that the district “ultimately

failed to provide a FAPE for [the student] for [three] school years” (collecting cases)); see also

Streck v. Bd. of Educ. of E. Greenbush Sch. Dist., 280 F. App’x 66, 68 (2d Cir. 2008) (affirming

dismissal of ADA and Section 504 claims where “an [IEP] was created and implemented,”

indicating that the student was “afforded access to an existing program,” but that the plaintiff

parents were only “challeng[ing] the content and sufficiency” of that program (citation and

quotation marks omitted)); cf. Gabel, 368 F. Supp. 2d at 336 (finding that the school district

acted with reckless indifference when “it actually avoided dealing with [the student’s] parents

because it had no proper placement for” the student (emphasis and alteration omitted)).

       Nor does any of the evidence show that J.C.T. “was denied a federal benefit because of

his disability.” Pinn ex rel. Steven P. v. Harrison Cent. Sch. Dist., 473 F. Supp. 2d 477, 484

(S.D.N.Y. 2007) (emphasis in original). In fact, the record shows that the District and its

employees worked tirelessly to accommodate J.C.T.’s disabilities, albeit with some mixed

results. Accordingly, the Court dismisses Plaintiffs’ Section 504 and ADA claims. See S.B. v.

N.Y.C. Dep’t of Educ., 117 F. Supp. 3d 355, 380–81 (S.D.N.Y. 2015) (holding that the plaintiffs’

allegations were that “the defendants failed to provide [the student] with a FAPE” and denying

summary judgment for the plaintiffs on, inter alia, the Section 504 and ADA claims while

granting summary judgment for the plaintiffs on their IDEA claim); M.C. v. Arlington Cent. Sch.

Dist., No. 11-CV-1835, 2012 WL 3020087, at *10–11 (S.D.N.Y. July 24, 2012) (dismissing



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Section 504 claim where the plaintiffs alleged that the student, who had Asperger’s Syndrome,

was repeatedly questioned about the student’s alleged suicidal thoughts and “threatened . . . with

arrest if he did not go to the hospital,” because the plaintiffs believed that the defendants were

“incorrect in their judgment” (quotation marks omitted)).

            2. IDEA Claims

        In their Amended Complaint, Plaintiffs primarily allege that the SRO erred in finding that

the District’s 2011–12 and 2012–13 IEPs provided J.C.T with a FAPE, thereby overturning the

IHO’s award of compensatory education and tuition reimbursement. (See Am. Compl. ¶¶ 126–

27, 160, 187–88.) Defendant argues that the Court should defer to the SRO’s educational

expertise, as Plaintiffs’ complaints primarily deal with the substance of the IEP. (See Def.’s

Mem. 12–19.) Plaintiffs counter that the Court should not defer to the SRO’s findings because

they are not well-founded and that, instead, the Court should reinstate the IHO’s award. (See

Pls.’ Mem. 4–20.) The Court addresses these and other related arguments below.

                a. Additional Evidence

        At the outset, the Parties dispute whether and how the Court should use additional

evidence presented to it through the instant Motion’s supporting papers. The IDEA provides

that, typically, a district court shall: “receive the records of the administrative proceedings; . . .

hear additional evidence at the request of a party; and . . . basing its decision on the

preponderance of the evidence, shall grant relief as the court determines is appropriate.” 20

U.S.C. § 1415(i)(2)(c)(i)–(iii). Under this provision, “[t]he taking of additional evidence is a

matter . . . left to the discretion of the trial court.” Lillbask ex rel. Mauclaire v. Sergi, 193 F.

Supp. 2d 503, 506 (D. Conn. 2002) (citation omitted). Courts generally accept evidence that was

not withheld in bad faith and is relevant but are cautioned not to permit additional evidence to



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the extent it changes the administrative review into a de novo review. See Grim v. Rhinebeck

Cent. Sch. Dist., 346 F.3d 377, 380 (2d Cir. 2003) (“Federal courts reviewing administrative

determinations under IDEA must . . . tak[e] into account not only the record from the

administrative proceedings, but also any further evidence presented before the District Court by

the parties.” (citation omitted)); Town of Burlington v. Dep’t of Educ. of Mass., 736 F.2d 773,

790–91 (1st Cir. 1984) (declining to require that courts “disallow testimony from all who did, or

could have, testified before the administrative hearing,” because “a rigid rule to this effect would

unduly limit a court’s discretion,” and instead leaving “[t]he determination of what is ‘additional’

evidence . . . to the discretion of the trial court”), aff’d, 471 U.S. 359 (1985); Plainville Bd. of Ed.

v. R.N., No. 09-CV-241, 2009 WL 2059914, at *1 (D. Conn. July 10, 2009) (“In determining

whether to admit additional evidence beyond the administrative record, a court ‘must be careful

not to allow such evidence to change the character of the hearing from one of review to a trial de

novo.’” (citation and italics omitted)); id. (“The party moving to submit additional evidence must

establish that it is relevant and necessary.” (collecting cases)); Eschenasy v. N.Y.C. Dep’t of

Educ., 604 F. Supp. 2d 639, 649 (S.D.N.Y. 2009) (noting that “the Third Circuit has stated that

the district court should consider additional evidence that is ‘relevant, non-cumulative, and

useful’” (quoting Susan N. v. Wilson Sch. Dist., 70 F.3d 751, 760 (3d Cir. 1995))).

        Defendant submitted several affidavits from various Bell staff members, arguing that the

“affidavits and exhibits, as well as the portions of the transcripts of the deposition testimony of

Dr. Marta Flaum . . . , J.C.T. . . .[, and] K.C. and M.C. . . . are submitted in support of the

District’s motion for summary judgment as concerns [Plaintiffs’] claims under Section 504 and

the ADA.” (Rushfield Aff’n ¶ 3.) Defendant also submitted affidavits of a number of Bell staff

(specifically, Vigilante, Doyle, Fitzgerald, Chinn, Wolff, and Kuczma) to help the Court—if



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necessary—supplement the analytical gap left by the SRO, who considered all IEP

implementation claims arising from events before May 27, 2012 time-barred. (See id. ¶¶ 4–5.)

Plaintiffs, in their Opposition, concur with Defendant’s request but also request that the Court

use “all additional evidence provided by both [P]arties in its review of the SRO’s decision.”

(Pls.’ Mem. 3.) In connection with this request, Plaintiffs submitted affidavits and deposition

testimony of K.C. and J.C.T. and suggested that the Court use deposition testimony from

Fitzgerald, which was submitted by Defendant in connection with the Rule 56 Motion only. (See

Asher Decl. ¶¶ 7–8; see also Rushfield Aff’n ¶¶ 3–5.)

       While it was at the Court’s direction that the Parties combined Defendant’s Rule 56

summary judgment argument with the other IDEA “summary judgment” arguments, (see Pls.’

Mem. 2), the Court declines to use that instruction—an attempt to condense and simplify the

logistics of briefing and filing—as an opportunity to allow evidence that Defendant specifically

submitted only for the traditional summary judgment motion into the entirety of the IDEA

analysis. Moreover, Plaintiffs have not made any more than a conclusory assertion that this

additional information is pertinent or useful to the disposition of the IDEA claims. (See id. at 3.)

Accordingly, the Court declines to use the exhibits submitted by Defendant only for the Rule 56

arguments in its consideration of the IDEA claims.

       Some of Defendant’s submissions were also designated by Defendant to supplement the

IDEA analysis of the significance of J.C.T.’s class period absences, information that the SRO did

not consider for the period prior to May 27, 2012 due to its statute of limitation determination.

(See Rushfield Aff’n ¶¶ 4–5.) The Court concludes that this additional evidence is “non-

cumulative,” “useful,” and does not “change the character of the hearing from one of review to a

trial de novo.” G.B., 751 F. Supp. 2d at 554 n.1 (citations and quotation marks omitted).



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Although the Court agrees with the SRO that the statute of limitations properly cuts off Plaintiff

Parents’ FAPE claims that arose from incidents prior to May 27, 2012, see Section II.B.2.b,

infra, the Court finds that this information is useful to its review of the SRO’s finding as to the

appropriateness of the 2012–13 IEP. This implicates only the affidavits of Vigilante, Doyle,

Fitzgerald, Chinn, Wolff, and Kuczma, which provide additional explanation about the school’s

absence recording system and how to interpret J.C.T.’s absence data. (See Rushfield Aff’n ¶ 5;

see also, e.g., Vigilante Aff. ¶ 1 (noting that Vigilante was the clerk at Bell during the 2011–12

school year); Doyle Aff. ¶¶ 3–4, 10–12 (affirming Doyle’s familiarity with Bell’s policy as to

students with a pattern of tardiness or absences and noting that J.C.T.’s class attendance record

did not fall within the scope of that policy); Fitzgerald Aff. ¶¶ 17–18 (noting that Fitzgerald did

not consider J.C.T.’s absences to be a significant problem because the records show a limited

number of absences in core classes); Wolff Aff. ¶¶ 6–8 (noting under which circumstances Wolff

would mark J.C.T. absent and explaining that, even during absences, J.C.T. was frequently

accompanied by Keegan or a teaching assistant).)

       Lastly, Plaintiffs also submit affidavits and deposition testimony of K.C. and J.C.T. in

support of their IDEA arguments without explaining why this additional testimony is necessary,

non-cumulative, or useful to the Court in assisting its review. (See Asher Decl. ¶¶ 7–8.) Unlike

other circumstances where courts have accepted new evidence outside of the administrative

record before the SRO, the evidence submitted here is voluminous and entails the testimony of

two central people to this Action since its inception as a due process complaint. See G.B., 751 F.

Supp. 2d at 554 n.1 (noting that the plaintiffs’ additional submissions were “brief” and “do not

change the character of this proceeding”); Jordan S v. Hewlett Woodmere Union Free Sch. Dist.,

No. 08-CV-1446, 2009 WL 910804, at *3 (E.D.N.Y. Mar. 31, 2009) (declining to permit



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evidence that was “duplicative,” but allowing evidence of progressive report cards and progress

reports). Plaintiffs have not shown that the “administrative record[, which is well over 1000

pages long,] is [in]sufficient evidence to evaluate the [SRO’s] decision.” Lillbask, 193 F. Supp.

2d at 506–07 (citation omitted) (noting that “the IDEA seeks to promote speedy resolution of the

litigation”). Moreover, “[t]he party moving to submit additional evidence must establish that it is

relevant and necessary,” Plainville Bd. of Educ., 2009 WL 2059914, at *1 (collecting cases),

which Plaintiffs—through one line in their Memorandum standing only for the proposition that

the evidence was not withheld in bad faith or likely to create a trial de novo, (see Pls.’ Mem.

3)—simply do not do. Accordingly, the Court will not consider the additional deposition

testimony of K.C. or J.C.T. in its evaluation of the SRO’s decision.

        The Court notes, however, that even if they were under consideration, the additional

testimony would not change the ultimate outcome. K.C. already testified extensively in the IHO

Hearing, and her deposition testimony focuses primarily on issues that the SRO was already

aware of in the administrative record, such has J.C.T having “no friends, . . . no social life[,] . . .

low self-esteem[,] . . . [and] grades [that were declining] significantly” during his years at Bell.

(Asher Decl. Ex. F (“Pls.’ 2019 K.C. Dep. Tr. Excerpt 2”) 146 (Dkt. No. 144-10); see generally

IHO Hr’g Tr. 1037–1388; Asher Decl. Ex. E (“Pls.’ 2019 K.C. Dep. Tr. Excerpt 1”); Ex. F

(“Pls.’ 2019 K.C. Dep. Tr. Excerpt 3”) (Dkt. Nos. 144-9–10).) J.C.T.’s February 8, 2019

deposition also does not add any materially new information to the record before the SRO, as the

deposition mostly rehashes the details of J.C.T.’s problems at home and at school during the

2011–13 period, including his inability to focus, frequent departures from the classroom, issues

with overeating, and emotional outbursts, all of which the SRO properly considered in the

Decision. (See generally Asher Decl. Ex. D (“J.C.T. 2019 Dep. Tr.”) (Dkt. No. 144-4–7).)



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               b. Statue of Limitations and Withholding of Information

        In its previous Opinion on the statute of limitations issue, the Court reserved decision as

to whether Plaintiffs’ First, Second, and Third Causes of Action were time-barred through May

26, 2012.10 (See 2018 Op. 31, 35.) In that Opinion, the Court applied the conventional Rule 56

summary judgment standard and concluded that “[a] reasonable fact finder could find Plaintiffs’

version of events . . . to be more credible” than Defendant’s. (Id. at 35.) The Court applied that

standard because at the time, Plaintiffs’ Section 504 and ADA claims—which were not subject

to IDEA-style adjudication, (see SRO Decision 6)—would also be implicated in the statute of

limitations decision, as discussed in this Court’s previous Opinion on Defendant’s Motion for

Judgment on the Pleadings, (see 2017 Op. 17). Now, the Section 504 and ADA claims have

been dismissed, and all that remains is a resolution of the IDEA-related claims, which is

typically resolved by the Court based on the written record before it. However, as noted

previously, even under an IDEA analysis, “deference is not owed to the SRO’s determination

regarding the accrual of Plaintiffs’ claims” because that is not a matter that required the SRO’s

“educational expertise.” (Id. at 18–19 (emphasis added).)

       Even without deferring to the SRO’s holding, after a review of the administrative record,

the Court does not see a need to disturb the SRO’s judgment that the parents’ claims that accrued

on or before May 26, 2012 were time-barred. The SRO correctly noted many examples of

evidence suggesting that parents knew or had reason to know of J.C.T.’s emotional disturbances




       10
           As discussed in that Opinion, Defendant refers to May 25, 2012 as the launch date for
Plaintiffs’ timely claims, (see Def.’s Reply 8), but the SRO Decision refers to May 27, 2012 as
the cutoff date because Plaintiffs filed their due process complaint on May 27, 2014, (see SRO
Decision 13). Accordingly, the SRO concluded that all “claims that accrued on or before May
26, 2012 are time-barred.” (Id. (citations omitted)). The Court therefore considers May 27, 2012
as the beginning of the timely portions of Plaintiffs’ complaints.
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and lost class time before 2014, when Plaintiffs submitted their due process complaint and

received additional documentation about J.C.T. from the District. For example, K.C. had

conversations with Sclafani, Keegan, and Pollock throughout the 2011–12 school year, where

each Bell staff member informed K.C. that J.C.T. was “going down to [Pollock’s] office when he

needed a break from class.” (Pls.’ Counter 56.1 ¶ 109.) At the February 15, 2012 CSE Meeting,

Plaintiff Parents brought up their concerns that J.C.T. was “missing a lot of class and had not

been learning based upon lower report card grades,” suggesting that even if they were not aware

of the exact amount of time J.C.T. spent outside of the classroom, they did have some

understanding that it was affecting his grades and learning potential. (Feb. 15, 2012 CSE

Meeting Notes and IEP 2.) The meeting notes also indicate that the CSE discussed that J.C.T.

was experiencing “difficulty with his peers” and often “exhibit[ed] immature social behaviors,”

suggesting that Plaintiff Parents were sufficiently on notice as to the way J.C.T.’s emotional

disability manifested at school. (Id. at 7.) Furthermore, as discussed in the previous 2018

Opinion, many of Plaintiffs’ assertions that they did not receive specific forms of documentation

regarding J.C.T.’s performance prior to 2014 are not supported by admissible, documented

evidence, (see 2018 Op. 14–18), and are belied by documentary evidence that some information

was available to Plaintiff Parents well before May 26, 2012, such as the Functional Behavioral

Assessment (“FBA”), (Feb. 15, 2012 CSE Meeting Notes and IEP 3), and the existence of Bell’s

parent portal, which provided class-by-class attendance notes with attendance incidents noted

identified with a yellow bell, (see IHO Hr’g Tr. 1322–25, 1514, 1516–17, 1523–35, 1538–41

(Dkt. No. 56-25).)11 Although the record is unable to establish that Plaintiff Parents saw the




       11
         The entirety of the IHO Hearing Transcript was in front of the SRO as part of the
administrative record. Portions of the Transcript were submitted to the Court as exhibits
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attendance details, they did log on to the parent portal a dozen times during the 2011–12 school

year, where the attendance information was discoverable. (See id. at 1525–38; see also 2018 Op.

12.) Accordingly, the Court agrees with the SRO that Plaintiff Parents knew or had reason to

know of the issues affecting J.C.T.’s education as to the implementation of the 2011–12 IEP

before May 27, 2012.

       Nor does the record show that the District withheld material documentation prior to the

CSE meetings in violation of IDEA’s procedural requirements. (See Pls.’ Mem. 16–17.) To

determine “whether the District fulfilled IDEA’s procedural obligations, [the Court] focus[es] on

whether [Plaintiffs] had an adequate opportunity to participate in the development of [J.C.T.’s]

IEP.” Cerra v. Pawling Cent. Sch. Dist., 427 F.3d 186, 192 (2d Cir. 2005). To do that, the

IDEA requires, inter alia, “[a]n opportunity for the parents of a child with a disability to examine

all records relating to such child and to participate in meetings with respect to the identification,

evaluation, and educational placement of the child, and the provision of a [FAPE] to such child,

and to obtain an independent evaluation of the child.” 20 U.S.C. § 1415(b)(1). However, even

without obtaining every piece of documentation that Plaintiffs later received when they filed

their 2014 due process complaint, it is clear that Plaintiff Parents and their private psychologist

and tutor were given an adequate opportunity to participate in the 2012 CSE Meetings and

appropriately voice their concerns. For example, following the February 15, 2012 CSE Meeting,

J.C.T.’s classification changed from “Other Health Impaired” to “Emotional Disturbance,” and a

40-minute Skills Seminar was added, demonstrating that Plaintiff Parents’ concerns about his

behavior indeed had an impact on the District’s strategy for J.C.T.’s education. (Pls.’ 56.1




accompanying prior motions in the case, and the Court refers to those exhibits for ease of access.
The full administrative record was sent directly to the Court.
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¶ 318.) Although the CSE ultimately refused, Plaintiff Parents, J.C.T.’s private psychologist,

psychiatrist, and tutor all had sufficient knowledge and opportunity to request a “smaller, more

therapeutic placement during the program review meeting in February 2012.” (Id. ¶ 339.) Later

in the year, Plaintiff Parents were provided with the February 12, 2015 Notes and IEP at the

commencement of the May 1, 2012 CSE Meeting. (Pls.’ Counter 56.1 ¶ 95.) The packet of

materials provided before the May 1, 2012 CSE Meeting also contained Confidential Student

Report documents, which included statements from teachers that J.C.T. “rarely” “attend[ed] class

consistently, arrive[d] on time, and stay[ed] the entire time.” (Id. ¶ 101.) Plaintiff Parents were

thus equipped with enough information to meaningfully participate in the development of

J.C.T.’s IEPs, even if they were not able to access every piece of documentation pertaining to

J.C.T at the time. See K.F. v. N.Y.C. Dep’t of Educ., No. 15-CV-1126, 2016 WL 3981370, at *8

(S.D.N.Y. Mar. 31, 2016) (holding that the IDEA does not “require the [CSE] to ensure that [the

parent] spoke on every point”); P.K. ex rel. P.K. v. Bedford Cent. Sch. Dist., 569 F. Supp. 2d

371, 383 (S.D.N.Y. 2008) (“The fact that the [d]istrict staff ultimately disagreed with the

opinions of [the] plaintiffs and their outside professionals does not mean that [the] plaintiffs were

denied the opportunity to participate in the development of the IEP’s . . . .”).

       Even to the extent Plaintiffs could show that they were improperly denied access to some

of J.C.T.’s school records or emails, “such errors will not negate the adequacy of an IEP where

the child’s education has not been affected.” Y.A., 2016 WL 5811843, at *9 (alteration and

quotation marks omitted) (quoting N.C. v. Bedford Cent. Sch. Dist., 300 F. App’x 11, 14 (2d Cir.

2008)). “Not every procedural error in the development of an IEP . . . renders it inadequate

under the IDEA.” J.G. v. Briarcliff Manor Union Free Sch. Dist., 682 F. Supp. 2d 387, 392,

396–97 (S.D.N.Y. 2010) (citation omitted) (holding that IDEA procedural requirements were not



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violated even where the plaintiff parents were not present for one of the meetings). As discussed

below, because J.C.T. was ultimately provided with a FAPE, even the existence of some

procedural errors would not negate the SRO’s finding as to the ultimate adequacy of the IEP.

               c. Denial of a FAPE

       The final question before the Court is whether J.C.T, either through failure to implement

or through the design of the IEP itself, was denied a FAPE. On this issue, as discussed above,

the Court must defer to a “thorough and careful” SRO decision, S.C., 175 F. Supp. 3d at 252

(citation and quotation marks omitted), because when the substance of an IEP is challenged, the

SRO’s “specialized knowledge and experience necessary to resolve persistent and difficult

questions of educational policy,” M.H., 685 F.3d at 240 (citation and quotation marks omitted),

is greater than the Court’s. Where the SRO’s decision is “reasoned and supported by the

record,” this Court should “defer to [its] findings.” T.P., 554 F.3d at 254 (citation and quotation

marks omitted).

       Here, the SRO’s Decision was thorough and careful, addressed Plaintiff Parents’

arguments, and adequately evaluated somewhat conflicting evidence. The Court is sympathetic

to Plaintiff Parents’ frustrations in their pursuit of providing J.C.T. with the best possible

educational environment, but Plaintiffs’ arguments that the SRO Decision does not merit

deference are unavailing. The Court addresses them as needed below.

       Plaintiffs argue that the SRO did not address certain “material aspects” of Plaintiffs’

claims, including the appropriateness of the 2011–12 IEP “for any period prior to the last month

of J.C.T.’s seventh grade year,” whether Westfield Day School was an appropriate unilateral

placement, and whether equitable considerations favored tuition reimbursement. (Pls.’ Mem. 7.)

Because the SRO appropriately determined that the statute of limitations barred any claims



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arising from events that occurred prior to May 27, 2012, the SRO did not need to consider the

details of whether the 2011–12 IEP was appropriately implemented for most of that school year.

Moreover, even to the extent information from the time-barred period was relevant in evaluating

the claims that were not time-barred, the SRO did so, such as the efficacy of the February 2012

FBA and behavioral intervention plan (“BIP”) for the one month of the 2011–12 school year that

was not time-barred. (See SRO Decision 16–17.) Moreover, “a party challenging the

implementation of an IEP must show more than a de minimis failure to implement all elements

of that IEP, and, instead, must demonstrate that the school board or other authorities failed to

implement substantial or significant provisions of the IEP.” D.D-S v. Southold Union Free Sch.

Dist., No. 09-CV-5026, 2011 WL 3919040, at *13 (E.D.N.Y Sept. 2, 2011) (citation, alteration,

and quotation marks omitted), aff’d 506 F. App’x 80 (2d Cir. 2012), cert. denied, 135 S. Ct. 443

(2014). Here, the SRO correctly noted several ways in which the District attempted to

accommodate J.C.T.’s needs throughout the school year, such as altering J.C.T.’s workload as

needed, “increasing the amount of space between [J.C.T.] and his teaching assistant, allowing

[J.C.T.] plenty of time to complete work in school[,] and constantly evaluating [J.C.T.’s] need

for additional support.” (SRO Decision 16 (citations and quotation marks omitted).) Even if

Plaintiff Parents or their privately hired experts and tutor disagreed with the method of

implementation, that does not establish that the “authorities failed to implement substantial or

significant provisions of the IEP” so as to deprive J.C.T. of a FAPE. D.D-S, 2011 WL 3919040,

at *13 (citation and quotation marks omitted); see also V.M. v. N. Colonie Cent. Sch. Dist., 954

F. Supp. 2d 102, 118–19 (N.D.N.Y. 2013) (holding that although the IHO “found that certain

aspect[s] of the IEP[s] . . . were not properly implemented,” those failures did not impact a




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“significant or substantial aspect” of the IEPs and that the student was still provided with a

FAPE).

       Furthermore, the SRO did not need to reach Plaintiffs’ arguments about appropriate

unilateral placement or the equities of tuition reimbursement because the SRO had already

reversed the IHO’s finding that J.C.T. was not provided by a FAPE. That is not indicative of a

flaw in the SRO’s decision, but rather, the logical outcome of a determination that Plaintiffs’

case failed at the first step of the analysis. See R.R. ex rel. M.R. v. Scarsdale Union Free Sch.

Dist., 615 F. Supp. 2d 283, 295 (S.D.N.Y. 2009) (noting that it is not necessary to “proceed to

assess the appropriateness of [the student’s] placement . . . or weigh equitable considerations”

because the district “complied with its IDEA obligations for both school years at issue” (citation

omitted)), aff’d 336 Fed. App’x 239 (2d Cir. 2010); see also T.P., 554 F.3d at 254 (same).

       Plaintiffs also argue, without including record citations, that the SRO “did not have

access to additional, highly probative evidence which further establishes that the student was

unable to be educated in the general education setting” without referring to the evidence. (Pls.’

Mem. 7.) To the extent Plaintiffs are referring to the new depositions they submitted with their

Opposition, the Court declines to rely upon them but also notes that nothing in them would

materially affect the outcome, as discussed above. To the extent Plaintiffs are referring to other

new evidence, the Court will not use this under-developed argument as an “invitation . . . to

scour the record,” particularly where Plaintiffs are counseled. Sioson v. Knights of Columbus,

303 F.3d 458, 459–60 (2d Cir. 2002) (citation and quotation marks omitted) (“To make a legal

argument is to advance one’s contentions by connecting law to facts, yet there is not one fact, or

supposed fact, let alone a fact properly cited to the record” to support Plaintiffs’ argument.

(citation omitted)). In any event, “the preponderance of the evidence indicates that the [SRO]



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had sufficient and accurate information” to understand J.C.T.’s needs, the events that transpired

at each CSE meeting, and the actual content of the IEPs. C.R. v. N.Y.C. Dep’t of Educ., 211 F.

Supp. 3d 583, 609 (S.D.N.Y. 2016).

       Plaintiffs also argue that the SRO made a factual error in asserting that it was Plaintiff

Parents’ behavioral analyst who critiqued the District’s behavior plans, when it was actually the

District’s own behavioral expert who did so. (Pls.’ Mem. 8.) In one sentence in the factual

summary, the SRO mistakenly refers to the District’s behavioral expert as the parents’, but this

error was of no consequence because the SRO also reviewed the content of the FBA and BIP and

ultimately concluded that they were “implemented, reviewed, and resulted in some progress in

addressing [J.C.T.’s] behavior.” (SRO Decision 18.) The SRO’s Decision did not give any less

weight to the critiques of them simply because the SRO believed it was Plaintiff Parents’ expert

that provided the critiques when it was actually the District’s. (See id.) Regardless of expert

testimony, the SRO conducted an independent review of the FBA and BIP and noted that they

identified “three target behaviors” and “strategies for preventing target behaviors, . . . alternative

replacement behaviors to be taught to [J.C.T.], . . . and . . . rewards for positive behavior.” (Id.

at 17 (citation omitted).) The SRO also gave weight to Keegan’s testimony that “some of the

strategies were successful.” (Id. (citation omitted)) Regardless, assuming arguendo that the

FBA and/or BIP were inadequate, “the failure to create an adequate FBA [does] not amount to

the denial of a FAPE.” R.E., 694 F.3d at 193; see also A.C. ex rel. M.C. v. Bd. Of Educ. of The

Chappaqua Cent. Sch. Dist., 553 F.3d 165, 172 (2d Cir. 2009) (holding that the school district’s

failure to conduct an FBA at all “does not compel the conclusion that the [] IEP was legally

inadequate,” especially where, as here, the IEP “provided for strategies to address [the student’s]




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behavior”). Therefore, neither the SRO’s factual error nor the SRO’s conclusion about the

adequacy of the behavioral plans merits reversal of the SRO’s Decision.

       Finally, the SRO’s Decision appropriately considered and evaluated a number of other

critiques as to the substantive adequacy of J.C.T’s IEPs, such as Plaintiffs’ arguments that J.C.T.

exhibited “overwhelmingly dysfunctional behaviors” and that J.C.T. was entitled to a 12-month

school year program, also known as an “ESY” program. (See Pls.’ Mem. 8, 17.) As to the 12-

month program, the SRO noted that, although J.C.T. experienced “social/emotional difficulties

outside of school during summer 2011,” J.C.T.’s interim and quarterly report cards, which

showed passing grades and some “grades in the A range . . . [and] B range,” did not demonstrate

that J.C.T. “experienced substantial regression following summer 2011, when he did not receive

special education services.” (SRO Decision 19.) “The SRO’s denial of [Plaintiffs’] requested

ESY services was also proper. ESY services are required only to the extent necessary ‘to

prevent substantial regression,’ defined as ‘the student’s inability to maintain developmental

levels due to a loss of skill or knowledge during the months of July and August of such severity

as to require an inordinate period of review at the beginning of the school year to reestablish and

maintain IEP goals and objectives mastered at the end of the previous school year.’ . . . The

well-reasoned SRO decision is entitled to deference.” M.M. v. N.Y.C. Dep’t of Educ., No. 15-

CV-5846, 2017 WL 1194685, at *9 (S.D.N.Y. Mar. 30, 2017) (citations omitted) (quoting T.M.

v. Cornwall Cent. Sch. Dist., 752 F.3d 145, 152 (2d Cir. 2014) and 8 N.Y.C.R.R. § 200.1(aaa)).

       The Court also disagrees that the SRO’s “thorough and well-reasoned” Decision, id. at *6

(citation omitted), gave “short shrift” to J.C.T.’s “dysfunctional behaviors” at school, (Pls.’

Mem. 8). Rather, the SRO noted that the CSE discussed how J.C.T.’s behavior was improving at

school, explaining that J.C.T. was “conversing with peers more frequently, advocating for



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himself more often . . ., and was more open to suggestions.” (SRO Decision 22.) Nevertheless,

the SRO also acknowledged that J.C.T. “still needed reminders and refocusing to manage his

frustration.” (Id.) The SRO also considered J.C.T.’s updated testing scores, along with

recommendations from J.C.T.’s private psychologist that J.C.T. “needed a more therapeutic

placement.” (Id. at 22–23.) Although Plaintiff Parents expressed that J.C.T. was “not invited to

play dates or parties,” J.C.T.’s guidance counselor “reported that in school peers reached out to

[J.C.T.] and attempted to include him.” (Id. at 23.) The SRO also considered information that

was discussed at the August 2012 IEP, noting that J.C.T.s “social interactions could be immature

or inappropriate,” and that, at times, J.C.T. was “overwhelmed by frustration and anxiety, which

could cause him to shut down and withdraw form classroom activities.” (Id. at 24.) As a result

of these developments, the August 2012 CSE added the services of a behavioral consultant and

recommended one weekly small group (5:1) session and one weekly individual counseling

session. (Id. at 27.) The SRO concluded that the August 2012 CSE recommendations “for a

general education placement with direct and indirect consultant teacher services for all academic

classes, 12:1 special class-skills instruction, both individual and group counseling, a full time 1:1

teaching assistant, and various program modifications/accommodations was reasonably

calculated to enable [J.C.T.] to receive educational benefits in the least restrictive environment.”

(Id. at 30–31.) The SRO wrote, “While I empathize with the parents over the student’s out-of-

school behavior, his interfering behavior in school was not such that the student’s teachers

[were] unable to manage it in the context of providing his instructional and support services.”

(Id. at 30–31.) “This determination is at heart a matter of education methodology, an area which

the SRO has expertise the Court lacks.” M.M., 2017 WL 1194685, at *6 (citation omitted); see

also C.M. v. N.Y.C. Dep’t of Educ., No. 15-CV-6275, 2017 WL 607579, at *20 (S.D.N.Y. Feb.



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14, 2017) (deferring to SRO’s determination that the IEP in question was adequate where the

SRO acknowledged that IEP did not address all of the student’s “specific” needs but, instead,

appropriately “allowed for flexibility” where appropriate for the student’s “social/emotional

levels of performance”); C.R., 211 F. Supp. 3d at 613 (deferring to the SRO’s decision regarding

appropriate class size and related additional services) (collecting cases). To the extent that

J.C.T’s frequent departures were a significant problem, the SRO pointed out that J.C.T.’s

“February 2012 BIP shows that leaving the classroom was a target behavior that the [D]istrict

was addressing,” concluding that the strategies in those plans were sufficient to address the

problem. (See SRO Decision 16.)12 The SRO’s conclusion also aligns with the IDEA’s “strong

preference for educating disabled children in the least restrictive environment.” C.L. v.




       12
           Indeed, the newly submitted Affidavits from Bell teachers and staff suggest that the
class absence issue was not as severe as the aggregate numbers might make it seem at first
glance. For example, Vigilante, the clerk at Bell for the relevant time period, noted that, based
on issues with the absence recording system, “[i]t was not uncommon for teachers taking
attendance to merely record the student as absent or tardy even if, for example, the teacher knew
that the student was with the Bell guidance counselor or with the school nurse . . ., excusing the
absence or delay in attending the class.” (Vigilante Aff. ¶ 3.) Vigilante goes on to point out
several recording errors that were apparent from the face of J.C.T.’s attendance data. (See id.
¶¶ 4–18.) Indeed, accompanied breaks were encouraged by J.C.T.’s 2011–12 IEP, which
suggested that breaks from the classroom during moments of escalated frustration would be
helpful for J.C.T. (Feb. 15, 2012 CSE Meeting Notes and IEP 10.) To the extent the breaks
became a problem, various Bell staff worked together to find ways to help J.C.T. get work done
even while he was not in the classroom. (See supra note 9.)
        Furthermore, after reviewing the data, Doyle and Fitzgerald concluded that the total
absences “reflect[ed] 4% of J.C.T.’s scheduled core academic class periods which he was
scheduled to attend during the 2011–12 school year.” (Doyle Aff. ¶ 11; see also id. ¶ 12 (“I do
not consider J.C.T.’s class attendance record to reflect a pattern of unexcused absences from
class periods or to reflect a pattern of excessive absenteeism from J.C.T.’s core academic class
periods.”); Fitzgerald Aff. ¶ 18 (“[T]here were no more than about 12 unexcused absences of
J.C.T. in total from J.C.T.’s core academic class periods . . . throughout the 2011–12 school
year.”).) This supplementary evidence supports the SRO’s conclusion that the 2011–12
classroom attendance issue was sufficiently addressed through the District’s 2012 BIP and FBA,
which came up with targeted strategies to minimize target behaviors such as “work avoidance”
and “leaving the classroom.” (SRO Decision 17.)
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Scarsdale Union Free Sch. Dist., 744 F.3d 826, 836 (2d Cir. 2014) (citation and quotation marks

omitted). In sum, none of Plaintiffs' arguments persuades the Court not to defer to the SRO's

reasoned judgment.

                                         III. Conclusion

       For the foregoing reasons, Defendant's Motion for Summary Judgment is granted. The

Clerk of Court is respectfully directed to terminate the pending Motion, (Dkt. No. 125), grant

judgment to Defendant, and close this case.

SO ORDERED.

DATED:         December / 8 , 2019
               White Plains, New York

                                                     KENNETH M. KARAS
                                                     UNITED STATES DISTRICT JUDGE




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